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                                  25564



                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE WESTERN DISTRICT OF LOUISIANA
                                 MONROE DIVISION

    STATE OF MISSOURI, STATE OF
    LOUISIANA, et al.,

                    Plaintiffs,

       v.                                               Case No. 3:22-cv-01213-TAD

    JOSEPH R. BIDEN, JR., in his official
    capacity as President of the United States,
    et al.,

                    Defendants.


                 SUPPLEMENTAL DECLARATION OF TAMMY GLENN

           1.   My name is Tammy Glenn. I am over the age of 18 years and competent to testify

 to the matters expressed herein. I am a paralegal employed by the Missouri Attorney General’s

 Office.

           2.   I have previously submitted a Declaration in this case, which is filed with the Court

 as Doc. 10-1. That prior Declaration is incorporated by reference herein.

           3.   The following documents are among those that have been filed with the Court by

 Plaintiffs in this case and are identifiable by ECF numbers.

           4.   Docs. 10-1 through 10-15 are witness declarations of Tammy Glenn, Michael

 Senger, Jay Bhattacharya, Martin Kulldorff, Jim Hoft, Patrick Flesch, Aaron Kheriaty, Jeff Allen,

 Mark Changizi, Daniel Kotzin, AJ Kitchen, Jill Hines, Ashley Bosch, Joshua McCollum, and

 Jessica Marie Gulmire, respectively, in support of the Motion for Preliminary Injunction.

           5.   Doc. 45-1 is a collection of CDC emails produced through FOIA and publicly

 available on the internet, and Docs. 45-2 through 45-15 are witness declarations of Michael Senger,


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 Jay Bhattacharya, Martin Kulldorff, Jim Hoft, Patrick Flesch, Aaron Kheriaty, Jeff Allen, Mark

 Changizi, Daniel Kotzin, AJ Kitchen, Jill Hines, Ashley Bosch, Joshua McCollum, and Jessica

 Marie Gulmire, respectively.

        6.     Doc. 71-1 is Defendants’ Interrogatory responses, produced by Defendants in

 discovery. Doc. 71-2 is a collection of emails involving the CDC, Census, Treasury Department,

 and State Department produced by Defendants in discovery. Doc. 71-3 is a collection of emails

 produced by Defendants in discovery. Doc. 71-4 is a collection of emails between Facebook

 executives and the White House and Office of the Surgeon General produced by Defendants in

 discovery. Doc. 71-5 is a collection of text messages between Facebook and Microsoft executives

 and Dr. Murthy and Jen Easterly produced by Defendants in discovery. Docs. 71-6 and 71-7 are

 collections of CDC emails produced by Defendants in discovery. Doc. 71-8 is a collection of

 CISA emails produced by Defendants in discovery. Doc. 71-9 is a collection of CDC, Census,

 and CISA emails produced by Defendants in discovery. Docs. 71-10, 71-11, and 71-13 are

 requests-for-production responses produced by Karine Jean-Pierre, Dr. Fauci and NIAID, and

 HHS, respectively.

        7.     Doc. 84-1 is a collection of HHS and White House emails produced by Defendants

 in discovery. Doc. 84-2 is a collection of CISA emails and documents produced by Defendants in

 discovery.

        8.     Doc. 86-2 is a letter from Congressmen James Comer and Jim Jordan to HHS

 Secretary Becerra, along with Dr. Fauci emails, which is publicly available on the internet. Doc.

 86-3 is Defendants’ Amended Interrogatory Responses. Doc. 86-5 is a collection of White House

 emails produced by Defendants in discovery. Doc. 86-6 is a collection of Elvis Chan emails

 produced by third-party LinkedIn in discovery. Doc. 86-7 is a collection of CISA documents



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 produced by Defendants in discovery. Doc. 86-8 is a collection of Lauren Protentis emails

 produced by Defendants in discovery. Doc. 86-9 is a collection of Dr. Murthy documents produced

 by Defendants in discovery. Doc. 86-10 is a collection of Carol Crawford documents produced

 by Defendants in discovery.

        9.      Doc. 106-1 is a letter from counsel for Plaintiffs to counsel for third-party Meta.

 Doc. 106-2 is a letter from counsel for third-party Meta to counsel for Plaintiffs. Doc. 106-3 is a

 copy of a November 2, 2022 New York Post article, “How the government hid the truth behind

 Hunter Biden’s laptop.” Doc. 106-4 is the December 17, 2020 declaration of Yoel Roth filed

 before the Federal Election Commission, which is publicly available.

        10.     Doc. 137-1 is a collection of Rob Flaherty emails produced by Defendants in

 discovery. Doc. 137-2 is a collection of Lauren Protentis emails produced by Defendants in

 discovery. Doc. 137-3 is a copy of the EIP’s report, “The Long Fuse: Misinformation and the

 2020 Election,” which is publicly available on the internet. Doc. 137-4 is a collection of Brian

 Scully emails produced by Defendants in discovery. Doc. 137-5 is a copy of the VP’s report,

 “Memes, Magnets, and Microchips: Narrative Dynamics Around Covid-19 Vaccines,” which is

 publicly available on the internet. Doc. 137-6 is a collection of Eric Waldo emails produced by

 Defendants in discovery.

        11.     Doc. 146-1 is the transcript of the November 29, 2022 deposition of Elvis Chan.

 Doc. 146-2 is the transcript of the November 23, 2022 deposition of Dr. Fauci. Doc. 146-3 is the

 transcript of the November 10, 2022 deposition of Daniel Kimmage.

        12.     Doc. 174-1 is a collection of White House emails produced by Defendants in

 discovery.




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        13.     Doc. 179-1 is Plaintiffs’ First Set of Preliminary-Injunction-Related Interrogatories

 to CISA. Doc. 179-2 is Plaintiffs’ First Set of Preliminary-Injunction-Related Interrogatories to

 Jen Easterly. Doc. 179-3 is Plaintiffs’ First Set of Preliminary-Injunction-Related Requests for

 Production to CISA and Jen Easterly. Doc. 179-4 is Defendants’ Interrogatory Responses. Doc.

 179-5 is CISA’s and Jen Easterly’s Requests-for-Production Responses. Doc. 179-6 is a transcript

 of the January 12, 2023 deposition of Brian Scully. Doc. 179-7 contains emails between counsel

 for Plaintiffs and counsel for Defendants.

        14.     Doc. 184-1 is a collection of CISA documents produced by Defendants in

 discovery. Doc. 184-2 is a collection of Brian Scully emails produced by Defendants in discovery.

        15.     Doc. 204-1 is the transcript of the November 29, 2022 deposition of Elvis Chan.

 Docs. 204-2 through 204-9 are the deposition exhibits.

        16.     Doc. 205-1 is the transcript of the November 15, 2022 deposition of Carol

 Crawford. Docs. 205-2 through 205-44 are the deposition exhibits.

        17.     Doc. 206-1 is the transcript of the November 23, 2022 deposition of Dr. Fauci.

 Docs. 206-2 through 206-36, Doc. 207, and Docs. 207-1 through 207-27 are the deposition

 exhibits.

        18.     Doc. 208-1 is the transcript of the November 10, 2022 deposition of Daniel

 Kimmage. Docs. 208-2 through 208-17 are the deposition exhibits.

        19.     Doc. 209-1 is the transcript of the January 12, 2023 deposition of Brian Scully.

 Docs. 209-2 through 209-30 are the deposition exhibits.

        20.     Doc. 210-1 is the transcript of the December 22, 2022 deposition of Eric Waldo.

 Docs. 210-2 through 210-46 are the deposition exhibits.




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        21.     Doc. 227-2 is a collection of CISA emails produced by Defendants in discovery.

 Docs. 227-3 through 227-9 are declarations of John Vecchione, Esq., John Burns, Esq., Jay

 Bhattacharya, Martin Kulldorff, Aaron Kheriaty, Jim Hoft, and Jill Hines, respectively, in support

 of the Motion for Class Certification.

        22.     Additionally, attached hereto as Exhibit A is an audio transcription of excerpts from

 the October 7, 2020 event “CISA Cybersecurity Summit 2020: Combatting Disinformation,”

 which audio transcription includes words from speakers Clint Watts and Alex Stamos. This same

 document is cited in Plaintiffs’ Proposed Findings of Fact (Doc. 214-1) as “Scully Ex. 3.”

        23.     Attached hereto as Exhibit B is an audio transcription of excerpts from the

 November 10, 2020 event “Atlantic Council: Initial Reactions: Disinformation in the 2020

 Elections,” which audio transcription includes words from speaker Alex Stamos. This same

 document is cited in Plaintiffs’ Proposed Findings of Fact (Doc. 214-1) as “Scully Ex. 4.”

        24.     Attached hereto as Exhibit C is an audio transcription of excerpts from the March

 3, 2021 event “Atlantic Council: The Long Fuse: Misinformation and the 2020 Election,” which

 audio transcription includes words from speaker Emerson Brooking. This same document is cited

 in Plaintiffs’ Proposed Findings of Fact (Doc. 214-1) as “Scully Ex. 5.”

        25.     Attached hereto as Exhibit D is an audio transcription of excerpts from the

 November 17, 2021 event “Digital Media Research Centre 2021 Digital Publics Symposium,”

 which audio transcription includes words from speaker Kate Starbird. This same document is cited

 in Plaintiffs’ Proposed Findings of Fact (Doc. 214-1) as “Scully Ex. 8.”

        26.     Attached hereto as Exhibit E is an email of Twitter’s Global Policy

 Communications Chief Emily Horne that is publicly available at: Matt Taibbi, Twitter Files #14:

 The RussiaGate Lies, Tweet 14, at https://twitter.com/mtaibbi/status/1613589069023383575.



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        27.     Attached hereto as Exhibit F is an email of Twitter’s Head of Trust and Safety Yoel

 Roth that is publicly available at: Matt Taibbi, Twitter Files # 14: The RussiaGate Lies, Tweet 15,

 at https://twitter.com/mtaibbi/status/1613589072777285641.

        28.     Attached hereto as Exhibit G is an email of Twitter’s Head of Trust and Safety Yoel

 Roth that is publicly available at: Matt Taibbi, Twitter Files # 14: The RussiaGate Lies, Tweet 17,

 at https://twitter.com/mtaibbi/status/1613589077906919432.

        29.     Attached hereto as Exhibit H is an internal Twitter communication that is publicly

 available at: Matt Taibbi, Twitter Files # 14: The RussiaGate Lies, Tweet 18, at

 https://twitter.com/mtaibbi/status/1613589080096350208.

        30.     Attached hereto as Exhibit I is correspondence submitted on behalf of Twitter, Inc.,

 to the Federal Election Commission, dated December 21, 2020, by its lawyers at Covington &

 Burling, LLP, in FEC matter number MUR 7827.



 I declare under penalty of perjury that the foregoing is true and correct to the best of my knowledge.




  Executed On: May 20, 2023                          /s/ Tammy Glenn

                                                     Tammy Glenn




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                    EXHIBIT A
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Case 3:22-cv-01213-TAD-KDM Document 274-2 Filed 05/20/23 Page 10 of 85 PageID #:
                                   25573
                          AUDIO TRANSCRIPTION 1/10/2023
                                                                         Page 1


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       3                            AUDIO TRANSCRIPTION
       4                    IN RE: STATE OF MISSOURI, ET AL.
       5                                      VS.
       6                      JOSEPH R. BIDEN, JR., ET AL.
       7                            CASE NO. 322CV01213
       8       EVENT: CISA CYBER SECURITY SUMMIT 2020: COMBATTING
       9                               DISINFORMATION
      10                               OCTOBER 7, 2020
      11
      12
      13
      14    (Due to the quality of the recorded media, portions
      15    were unable to be transcribed and include inaudible
      16    portions.      The transcript may also include
      17    misinterpreted words and/or unidentified speakers.
      18    The transcriber was not present at the time of the
      19    recording; therefore, this transcript should not be
      20    considered verbatim.)
      21
      22    TRANSCRIBED BY: MELISSA LANE
      23
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                                   25574
                          AUDIO TRANSCRIPTION 1/10/2023
                                                                         Page 2


       1                   (CLIP: 6:17-6:50)
       2                   CLINT WATTS:    And I think what's
       3    interesting in this time around is how we -- we kind
       4    of talked about Russia having the playbook in 2016,
       5    and sort of leading the way in terms of how to do
       6    disinformation and -- and election manipulation.           Now
       7    everyone has adopted that approach, and in the
       8    domestic scene, it -- it is overwhelmingly more domestic
       9    than foreign this time around in 2020, and I think
      10    from the Russian, Chinese or Iranian perspective, they
      11    must wonder what they can possibly say that would
      12    change anyone's mind that's not already being said in
      13    the American landscape.
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                                   25575
                          AUDIO TRANSCRIPTION 1/10/2023
                                                                         Page 3


       1                   (CLIP: 12:43-13:18)
       2                   ALEX STAMOS:    The bigger issue in 2020, is
       3    going to be domestic, and to be honest, like, it's --
       4    it is domestic and the -- the things that we're
       5    seeing, so we have set up this thing called the
       6    election integrity partnership, so we went and hired a
       7    bunch of students.      We're working with the University
       8    of Washington, Graphika, and DFRLab, and the vast, vast
       9    majority of the contact we see we believe is domestic.
      10    You know, some of it you can't tell, but a lot of it
      11    is coming from domestic blue checkmark verified
      12    elites; right?     And so I think a much bigger issue for
      13    the platforms is elite disinformation.          The stuff that
      14    is being driven by people who are verified that are
      15    Americans who are using their real identities.
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                                   25576
                          AUDIO TRANSCRIPTION 1/10/2023
                                                                               Page 4

       1                   (CLIP:    29:24-30:00)

       2                   ALEX STAMOS:     I think we talk way too much

       3   about foreign influence, and let's be honest.             I think

       4   we talk too much about it.          It's sexy, and it's fun.

       5   And it's a little bit cold wary, but the truth is,

       6   that the vast majority of these problems or the kind

       7   of problems in the information environment are domestic

       8   problems. They're problems in how we interact with each

       9   other of the norms that have been created by online

      10   political speech, about amplification issues, about how now

      11   politicians are utilizing platforms, and so I think

      12   we -- we have like an 80/20 breakdown of 80 percent we

      13   talk about foreign and 20 domestic.              I think that

      14   needs to be flipped.         And I think the quantitative

      15   social science research supports that idea.

      16                   (Audio ended.)

      17

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                          AUDIO TRANSCRIPTION 1/10/2023
                                                                         Page 5


       1                        CERTIFICATE OF REPORTER
       2
       3                   I, Melissa J. Lane, Certified Court
       4    Reporter of Missouri, Certified Shorthand Reporter of
       5    Illinois and Registered Professional Reporter, do
       6    hereby certify that I was asked to prepare a
       7    transcript of proceedings had in the above-mentioned
       8    case, which proceedings were held with no court
       9    reporter present utilizing an open microphone system
      10    of preserving the record.
      11                   I further certify that the foregoing pages
      12    constitute a true and accurate reproduction of the
      13    proceedings as transcribed by me to the best of my
      14    ability and may include inaudible sections or
      15    misidentified speakers of said open microphone
      16    recording.
      17
      18
      19                     Melissa J. Lane, CCR, CSR, RPR
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                          AUDIO TRANSCRIPTION 1/10/2023

           A        CISA 1:8              G     lot 3:10           2:11
     ability 5:14   CLINT 2:2      going 3:3                      prepare 5:6
                    CLIP 2:1 3:1                      M           present 1:18
     above-me...                   Graphika 3:8
      5:7            4:1                        majority 3:9       5:9
     accurate       cold 4:5              H      4:6              preserving
      5:12          COMBATTING     held 5:8     manipula...        5:10
     adopted 2:7     1:8           hired 3:6     2:6              problems 4:6
     AL 1:4,6       coming 3:11    honest 3:3   media 1:14         4:7,8,8
     ALEX 3:2 4:2   considered       4:3        Melissa 1:22      proceedings
     American        1:20                        5:3,19            5:7,8,13
      2:13          constitute            I     microphone        Professi...
     Americans       5:12          idea 4:15     5:9,15            5:5
      3:15          contact 3:9    identities   mind 2:12
                    court 5:3,8      3:15       misident...            Q
     amplific...
      4:10          created 4:9    Illinois 5:5  5:15             quality 1:14
     and/or 1:17    CSR 5:19       inaudible    misinter...       quantita...
     anyone's       CYBER 1:8        1:15 5:14   1:17              4:14
      2:12                         include 1:15 Missouri  1:4
                          D                      5:4                    R
     approach 2:7                    1:16 5:14
     asked 5:6      DFRLab 3:8     influence                      R 1:6
                    disinfor...                       N           real 3:15
     Audio 1:3                       4:3
      4:16           1:9 2:6       information needs 4:14         record 5:10
                     3:13            4:7        norms 4:9         recorded
           B        domestic 2:8   integrity                        1:14
                     2:8 3:3,4                        O           recording
     believe 3:9                     3:6
     best 5:13       3:9,11 4:7    interact 4:8 OCTOBER 1:10        1:19 5:16
     BIDEN 1:6       4:13          interesting online 4:9         Registered
     bigger 3:2     driven 3:14      2:3        open 5:9,15         5:5
      3:12          Due 1:14       Iranian 2:10 overwhel...       reporter 5:1
     bit 4:5                       issue 3:2,12  2:8                5:4,4,5,9
                        E                                         reproduc...
     blue 3:11                     issues 4:10        P
     breakdown    election 2:6                                      5:12
                   3:6                    J     pages 5:11        research
      4:12                                      partnership
     bunch 3:7    elite 3:13       J 5:3,19                         4:15
                  elites 3:12      JOSEPH 1:6    3:6              right 3:12
           C      ended 4:16       JR 1:6       people  3:14      RPR 5:19
     called 3:5   environment                   percent 4:12      Russia 2:4
     case 1:7 5:8  4:7                    K     perspective       Russian 2:10
     CCR 5:19     ET 1:4,6         kind 2:3 4:6  2:10
                                                platforms               S
     CERTIFICATE EVENT 1:8         know 3:10
      5:1                                        3:13 4:11        scene 2:8
                        F                 L     playbook 2:4      science 4:15
     Certified
      5:3,4       flipped 4:14     landscape    political         sections
     certify 5:6  foregoing          2:13        4:10              5:14
      5:11         5:11            Lane 1:22    politicians       SECURITY 1:8
     change 2:12  foreign  2:9       5:3,19      4:11             see 3:9
     checkmark     4:3,13          leading 2:5  portions          seeing 3:5
      3:11        fun 4:4          let's 4:3     1:14,16          set 3:5
     Chinese 2:10 further 5:11     little 4:5   possibly          sexy 4:4


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                          AUDIO TRANSCRIPTION 1/10/2023

     Shorthand      utilizing             5
      5:4            4:11 5:9
     social 4:15                         6
     sort 2:5             V
                                    6:17-6:50
     speakers       vast 3:8,8       2:1
      1:17 5:15      4:6
     speech 4:10    verbatim              7
     STAMOS 3:2      1:20           7 1:10
      4:2           verified
     STATE 1:4       3:11,14              8
     students 3:7   VS 1:5          80 4:12
     stuff 3:13                     80/20 4:12
     SUMMIT 1:8           W
     supports       wary 4:5
      4:15          Washington
     system 5:9      3:8
                    WATTS 2:2
           T        way 2:5 4:2
     talk 4:2,4     we're 3:4,7
      4:13          went 3:6
     talked 2:4     wonder 2:11
     tell 3:10      words 1:17
     terms 2:5      working 3:7
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     things 3:4            X
     think 2:2,9
      3:12 4:2,3           Y
      4:11,13,14
                           Z
     time 1:18
      2:3,9                0
     transcribed
      1:15,22            1
      5:13
     transcriber    12:43-13:18
      1:18           3:1
     transcript           2
      1:16,19
                    20 4:13
      5:7
                    2016 2:4
     TRANSCRI...
                    2020 1:8,10
      1:3
                     2:9 3:2
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                    EXHIBIT B
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Case 3:22-cv-01213-TAD-KDM Document 274-2 Filed 05/20/23 Page 21 of 85 PageID #:
                                  25584
                              AUDIO TRANSCRIPTION
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       4                           AUDIO TRANSCRIPTION
       5                    IN RE: STATE OF MISSOURI, ET AL.
       6                                      VS.
       7                      JOSEPH R. BIDEN, JR., ET AL.
       8                            CASE NO. 322CV01213
       9            EVENT: ATLANTIC COUNCIL: INITIAL REACTIONS:
      10                DISINFORMATION IN THE 2020 ELECTIONS
      11                              NOVEMBER 10, 2020
      12
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      14
      15    (Due to the quality of the recorded media, portions
      16    were unable to be transcribed and include inaudible
      17    portions.      The transcript may also include
      18    misinterpreted words and/or unidentified speakers.
      19    The transcriber was not present at the time of the
      20    recording; therefore, this transcript should not be
      21    considered verbatim.)
      22
      23    TRANSCRIBED BY: MELISSA LANE
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                              AUDIO TRANSCRIPTION
                                                                         Page 2


       1                   (CLIP: 22:34-23:25)
       2                   ALEX STAMOS:     You know, an interesting
       3    thing is almost all of this is domestic: right?             So
       4    you know, to pre-empt the question that we've got
       5    every single day since election day, there has been
       6    some foreign action.       There's obviously a lot of overt
       7    foreign activity, you know, overt, meaning the, you
       8    know, declared media outlets and Twitter accounts and
       9    the like of foreign governments.            There has been a
      10    little bit of covert.       We're going to talk about it
      11    but nothing that's very interesting.           It is all
      12    domestic, and the second point on the domestic, a huge
      13    part of the problem is well-known influencers, and I
      14    think that was a theme that we saw during the entire
      15    week is that you have a -- a relatively small number
      16    of people with very large followings who have the
      17    ability to go and find a narrative somewhere, pick it
      18    out of obscurity and harden -- you know, some kind of
      19    a little idea, one tweet, one photo, one video and
      20    then to harden it into these narratives.
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                                  25586
                              AUDIO TRANSCRIPTION
                                                                         Page 3


       1                   (CLIP: 49:34-49:50)
       2                   ALEX STAMOS:     So, you know, on effectively
       3    pushing the platforms to do stuff.          So, yes, there's a
       4    basic problem that they will always be more
       5    responsive in the places that are both economically
       6    highly important and that have huge potential
       7    regulatory impact, most notably right now that would
       8    be the United States and Europe.
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                                                                          Page 4


       1                   (CLIP: 50:06-50:56)
       2                   ALEX STAMOS:    My suggestion, if people want
       3    to get the platforms to do stuff is, first, you've got
       4    to push for written policies that are specific and
       5    that give you predictability; right?          And so this is
       6    something we started in the summer, in August, is as
       7    Kate talked about Carly Miller led a team from all
       8    four institutions to look at the detailed policies
       9    of the big platforms and to measure them against
      10    situations that we expected to happen.
      11                   Now we're not going to take credit for all
      12    of the changes they made, but there -- we had to
      13    update this thing, like, eight or nine times; right?
      14    And so like putting these people in a grid to say,
      15    you're not handling this, you're not handling this,
      16    you're not handling this, creates a lot of pressure
      17    inside of the companies and forces them to kind of
      18    grapple with these issues, because you want specific
      19    policies that you can hold them accountable for.              The
      20    second is, when you report stuff to them, report how
      21    it's violating those written policies; right?            So
      22    there's two steps here.       Get good policies, and then
      23    say, this is how it's violated it.
      24                   (Audio ended.)
      25



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                                  25588
                              AUDIO TRANSCRIPTION
                                                                         Page 5


       1                        CERTIFICATE OF REPORTER
       2
       3                   I, Melissa J. Lane, Certified Court
       4    Reporter of Missouri, Certified Shorthand Reporter of
       5    Illinois and Registered Professional Reporter, do
       6    hereby certify that I was asked to prepare a
       7    transcript of proceedings had in the above-mentioned
       8    case, which proceedings were held with no court
       9    reporter present utilizing an open microphone system
      10    of preserving the record.
      11                   I further certify that the foregoing pages
      12    constitute a true and accurate reproduction of the
      13    proceedings as transcribed by me to the best of my
      14    ability and may include inaudible sections or
      15    misidentified speakers of said open microphone
      16    recording.
      17
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      19                     Melissa J. Lane, CCR, CSR, RPR
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           A      court 5:3,8   going 2:10         know 2:2,4,7       P
     ability 2:17 covert 2:10     4:11              2:8,18 3:2 pages 5:11
      5:14        creates 4:16 good 4:22                        part 2:13
                  credit 4:11   governments              L
     above-me...                                                people 2:16
      5:7         CSR 5:19        2:9              Lane 1:23     4:2,14
     accountable                grapple 4:18        5:3,19      photo 2:19
                        D       grid 4:14          large 2:16
      4:19                                                      pick 2:17
     accounts 2:8 day 2:5,5                        led 4:7      places 3:5
                  declared 2:8         H           little 2:10
     accurate                                                   platforms
      5:12        detailed 4:8 handling             2:19         3:3 4:3,9
     action 2:6   DISINFOR...     4:15,15,16       look 4:8     point 2:12
     activity 2:7  1:10         happen 4:10        lot 2:6 4:16 policies 4:4
     AL 1:5,7     domestic 2:3 harden 2:18                       4:8,19,21
                   2:12,12        2:20                   M
     ALEX 2:2 3:2                                                4:22
      4:2         Due 1:15      held 5:8           meaning 2:7  portions
     and/or 1:18                highly 3:6         measure 4:9   1:15,17
                        E       hold 4:19          media 1:15
     asked 5:6                                                  potential
     ATLANTIC 1:9 economic... huge 2:12             2:8          3:6
     Audio 1:4     3:5            3:6              Melissa 1:23 pre-empt 2:4
      4:24        effectively                       5:3,19      predicta...
                   3:2                 I           microphone
     August 4:6                                                  4:5
                  eight 4:13    idea 2:19           5:9,15      prepare 5:6
           B      election  2:5 Illinois 5:5       Miller 4:7   present 1:19
     basic 3:4    ELECTIONS     impact 3:7         misident...   5:9
     best 5:13     1:10         important           5:15        preserving
     BIDEN 1:7    ended 4:24      3:6              misinter...   5:10
     big 4:9      entire 2:14   inaudible           1:18        pressure
     bit 2:10     ET 1:5,7        1:16 5:14        Missouri 1:5  4:16
                  Europe 3:8    include 1:16        5:4         problem 2:13
           C      EVENT 1:9       1:17 5:14                        3:4
                  expected      influencers              N
     Carly 4:7                                                    proceedings
     case 1:8 5:8  4:10           2:13             narrative
                                                                   5:7,8,13
     CCR 5:19                   INITIAL   1:9       2:17
                        F                                         Professi...
     CERTIFICATE                inside   4:17      narratives
                                                                   5:5
      5:1         find 2:17     institut...         2:20
                                                                  push 4:4
     Certified    first 4:3       4:8              nine 4:13
                                                                  pushing 3:3
      5:3,4       followings    interesting        notably 3:7
                                                                  putting 4:14
     certify 5:6   2:16           2:2,11           NOVEMBER
      5:11        forces  4:17  issues   4:18       1:11               Q
     changes 4:12 foregoing                        number 2:15    quality 1:15
                   5:11                J
     CLIP 2:1 3:1                                        O        question 2:4
      4:1         foreign 2:6   J 5:3,19
     companies     2:7,9        JOSEPH 1:7         obscurity            R
      4:17        four 4:8      JR 1:7              2:18          R 1:7
     considered   further 5:11                     obviously      REACTIONS
                                       K            2:6
      1:21              G                                           1:9
     constitute                 Kate 4:7           open 5:9,15    record 5:10
      5:12        give 4:5      kind 2:18          outlets 2:8    recorded
     COUNCIL 1:9  go 2:17         4:17             overt 2:6,7      1:15


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     recording            T         we've 2:4
      1:20 5:16     take 4:11       week 2:15
     Registered     talk 2:10       well-known
      5:5           talked 4:7       2:13
     regulatory     team 4:7        words 1:18
      3:7           theme 2:14      written 4:4
     relatively     thing 2:3        4:21
      2:15           4:13
     report 4:20                          X
                    think 2:14
      4:20          time 1:19
     reporter 5:1                         Y
                    times 4:13
      5:4,4,5,9     transcribed
     reproduc...                          Z
                     1:16,23
      5:12           5:13
     responsive                           0
                    transcriber
      3:5            1:19                 1
     right 2:3      transcript
      3:7 4:5,13                    10 1:11
                     1:17,20
      4:21           5:7                  2
     RPR 5:19       TRANSCRI...     2020 1:10,11
           S         1:4            22:34-23:25
                    true 5:12        2:1
     saw 2:14       tweet 2:19
     second 2:12    Twitter 2:8          3
      4:20          two 4:22
     sections                       322CV01213
      5:14                           1:8
                          U
     Shorthand      unable 1:16          4
      5:4           unidenti...     49:34-49:50
     single 2:5      1:18            3:1
     situations     United 3:8
      4:10          update 4:13          5
     small 2:15     utilizing       50:06-50:56
     speakers        5:9             4:1
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     specific 4:4         V
      4:18          verbatim
     STAMOS 2:2      1:21
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     States 3:8     violating
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     summer 4:6     we're 2:10
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                                  25591




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       6                          AUDIO TRANSCRIPTION
       7                    IN RE: STATE OF MISSOURI, ET AL.
       8                                     VS.
       9                      JOSEPH R. BIDEN, JR., ET AL.
      10                           CASE NO. 322CV01213
      11    EVENT: ATLANTIC COUNCIL: THE LONG FUSE: MISINFORMATION
      12                        AND THE 2020 ELECTION
      13                               MARCH 3, 2021
      14
      15
      16    (Due to the quality of the recorded media, portions
      17    were unable to be transcribed and include inaudible
      18    portions.      The transcript may also include
      19    misinterpreted words and/or unidentified speakers.
      20    The transcriber was not present at the time of the
      21    recording; therefore, this transcript should not be
      22    considered verbatim.)
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      24    TRANSCRIBED BY: MELISSA LANE
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                              AUDIO TRANSCRIPTION
                                                                         Page 2


       1                   (CLIP: 1:21:42-1:22-30)
       2                   EMERSON BROOKING:      I think the EIP really
       3    helped push the envelope with things like just the
       4    notion that this pre -- this delegitimization of
       5    electoral processes that we were seeing in the summer
       6    and early fall that this should be against content
       7    moderation policies on these platforms, and
       8    begin to take proactive steps there, but I -- it was
       9    to me a bit disappointing that there was tons of this
      10    misinformation that would continue to circulate,
      11    because bottom line, these platforms are companies,
      12    and they had to hedge their bets a little bit.             They
      13    couldn't outlaw the speech of one competitor in a
      14    political process, but after November 3rd, we saw that
      15    market shift where content moderation actions that
      16    were -- we could hardly contemplate a few weeks before
      17    began to be taken.      There was a much stronger emphasis
      18    on cracking down on the sort of content we've been
      19    tracking from the beginning.
      20                   (Audio ended.)
      21
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                              AUDIO TRANSCRIPTION
                                                                         Page 3


       1                        CERTIFICATE OF REPORTER
       2
       3                   I, Melissa J. Lane, Certified Court
       4    Reporter of Missouri, Certified Shorthand Reporter of
       5    Illinois and Registered Professional Reporter, do
       6    hereby certify that I was asked to prepare a
       7    transcript of proceedings had in the above-mentioned
       8    case, which proceedings were held with no court
       9    reporter present utilizing an open microphone system
      10    of preserving the record.
      11                   I further certify that the foregoing pages
      12    constitute a true and accurate reproduction of the
      13    proceedings as transcribed by me to the best of my
      14    ability and may include inaudible sections or
      15    misidentified speakers of said open microphone
      16    recording.
      17
      18
      19                     Melissa J. Lane, CCR, CSR, RPR
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           A        content 2:6   1:17 3:14   policies 2:7        sort 2:18
     ability 3:14    2:15,18    include 1:17 political            speakers
     above-me...    continue      1:18 3:14     2:14               1:19 3:15
      3:7            2:10                     portions            speech 2:13
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     accurate
      3:12          court 3:3,8 J 3:3,19      pre 2:4             steps 2:8
     actions 2:15   cracking    JOSEPH 1:9    prepare 3:6         stronger
     AL 1:7,9        2:18       JR 1:9        present 1:20         2:17
     and/or 1:19    CSR 3:19                    3:9               summer 2:5
                                       K      preserving          system 3:9
     asked 3:6          D
     ATLANTIC                                   3:10
                  delegiti...          L      proactive                 T
      1:11
                   2:4          Lane 1:24       2:8               take 2:8
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                  disappoi...     3:3,19      proceedings         taken 2:17
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                   2:9          line 2:11       3:7,8,13          things 2:3
           B      Due 1:16      little   2:12 process 2:14        think 2:2
     began 2:17                 LONG  1:11    processes           time 1:20
                        E                       2:5               tons 2:9
     beginning                         M
      2:19        early 2:6                   Professi...         tracking
                  EIP 2:2       MARCH 1:13      3:5                2:19
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                  ELECTION      market 2:15   push  2:3           transcribed
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     BIDEN 1:9
                  electoral     Melissa 1:24         Q             3:13
     bit 2:9,12
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     bottom 2:11
                  EMERSON  2:2  microphone                         1:20
     BROOKING 2:2                                    R
                  emphasis        3:9,15                          transcript
           C       2:17         misident...   R 1:9                1:18,21
     case 1:10    ended 2:20      3:15        really 2:2           3:7
      3:8         envelope  2:3 misinfor...   record 3:10         TRANSCRI...
     CCR 3:19     ET 1:7,9        1:11  2:10  recorded             1:6
     CERTIFICATE EVENT 1:11     misinter...     1:16              true 3:12
      3:1                         1:19        recording
                        F       Missouri 1:7    1:21 3:16              U
     Certified
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     certify 3:6  foregoing     moderation      3:5               unidenti...
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                  FUSE 1:11            N      reproduc...          3:9
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     companies                    2:14                            verbatim
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          1
     1:21:42-...
      2:1
           2
     2020 1:12
     2021 1:13
           3
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       5                            AUDIO TRANSCRIPTION
       6                    IN RE: STATE OF MISSOURI, ET AL.
       7                                      VS.
       8                      JOSEPH R. BIDEN, JR., ET AL.
       9                            CASE NO. 322CV01213
      10            EVENT: DMRC 2021 DIGITAL PUBLICS SYMPOSIUM
      11                              NOVEMBER 17, 2021
      12
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      14
      15    (Due to the quality of the recorded media, portions
      16    were unable to be transcribed and include inaudible
      17    portions.      The transcript may also include
      18    misinterpreted words and/or unidentified speakers.
      19    The transcriber was not present at the time of the
      20    recording; therefore, this transcript should not be
      21    considered verbatim.)
      22
      23    TRANSCRIBED BY: MELISSA LANE
      24
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                              AUDIO TRANSCRIPTION
                                                                         Page 2


       1                   (CLIP: 18:29-19:20)
       2                   KATE STARBIRD:     Now fast forward to 2020,
       3    we saw a very different story around disinformation in
       4    the U.S. election.      It was largely domestic coming
       5    from inside the United States.         There were foreign
       6    activities that were a part of these conversations,
       7    but they weren't playing a major role.           Most of the
       8    accounts perpetrating this -- not even the accounts,
       9    most of the entities perpetrating this disinformation
      10    campaign as we and Benkler colleagues saw it were --
      11    they're authentic accounts.         They were often blue
      12    check and verified accounts.         They were pundits on
      13    cable television shows that were who they said they
      14    were along with, you know, some other anonymous
      15    members of the connected crowd online, but a lot of
      16    the major spreaders were blue check accounts, and it
      17    wasn't entirely coordinated, but instead, it was
      18    largely sort of cultivated and even organic in places
      19    with everyday people creating and spreading
      20    disinformation about the election.
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                              AUDIO TRANSCRIPTION
                                                                         Page 3


       1                   (CLIP: 29:30-29:49)
       2                   KATE STARBIRD:       So we see this -- the
       3    disinformation campaign was top down and Benkler
       4    colleagues talk about it as a top-down elite driven
       5    disinformation campaign, but this campaign was also
       6    bottom up with everyday people sharing their own
       7    experiences, their own misperceptions of being
       8    disenfranchised or finding what they thought to be
       9    evidence of voter fraud.
      10                   (Audio ended.)
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       1                        CERTIFICATE OF REPORTER
       2
       3                   I, Melissa J. Lane, Certified Court
       4    Reporter of Missouri, Certified Shorthand Reporter of
       5    Illinois and Registered Professional Reporter, do
       6    hereby certify that I was asked to prepare a
       7    transcript of proceedings had in the above-mentioned
       8    case, which proceedings were held with no court
       9    reporter present utilizing an open microphone system
      10    of preserving the record.
      11                   I further certify that the foregoing pages
      12    constitute a true and accurate reproduction of the
      13    proceedings as transcribed by me to the best of my
      14    ability and may include inaudible sections or
      15    misidentified speakers of said open microphone
      16    recording.
      17
      18
      19                     Melissa J. Lane, CCR, CSR, RPR
      20
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                     3:7                       recording          transcript
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                     EXHIBIT E
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                     EXHIBIT F
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                    EXHIBIT G
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Case 3:22-cv-01213-TAD-KDM Document 274-2 Filed 05/20/23 Page 53 of 85 PageID #:
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                    EXHIBIT H
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                                  25617
Case 3:22-cv-01213-TAD-KDM Document 274-2 Filed 05/20/23 Page 55 of 85 PageID #:
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                          EXHIBIT I
                                                                MUR782700028
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                                                                               rkelner@cov.com




 Via Electronic Mail                                                            December 21, 2020

 Mr. Jeff S. Jordan
 Federal Election Commission
 Office of Complaints Examination
   and Legal Administration
 1050 1st Street NE
 Washington, DC 20463


               Re: MUR 7827

 Dear Mr. Jordan:

         We write on behalf of our clients Twitter, Inc., Jack Dorsey, and Brandon Borrman, in
 response to the complaint filed by the Tea Party Patriots Foundation in the above-captioned
 matter under review. The complaint asserts that Twitter made an impermissible corporate in­
 kind conh-ibution to Biden for President, the p11ncipal campaign committee for President-elect
 Joe Biden, when Twitter removed from its platform two articles published by the New York Post
 that violated Twitter's pre-existing, politically neutral Rules and policies.

         The complaint filed by Tea Party Pah-iots Foundation is based on the same set of events
 at issue in MUR 7821. For the reasons specified in Twitter's response to MUR 7821, which we
 incorporate here by reference and have attached, the Commission should find that there is no
 reason to believe that Twitter, Mr. Dorsey, or Mr. BoITman violat ed the Federal Election
 Campaign Act of 1971, as amended ("FECA"), and should dismiss the complaint with no fmther
 action.

         First, as set out more fully in Twitter's attached response in MUR 7821, Twitter blocked
 potentially hacked content that contained private information such as email addresses, phone
 numbers, and personal photographs for bona fide commercial reasons and to enforce pre­
 existing Rules and policies intended to protect the safety, integ11ty, and commercial viability of
 its social media platform. The complaint alleges that Twitter, Mr. Dorsey, and Mr. Borrman
 instead blocked the N.Y. Post ruticles because the articles were "deemed by them to be
 detriment al to the presidential candidacy/ campaign of' Joe Biden. 1 Complainant provides no
 evidence whatsoever in its sworn complaint to suppo1t this false allegation. In actual fact,
 Twitter determined at the time that the articles violated its then-current policy on Distribution



 1
     Complaint at 2, MUR 7827.
                                            MUR782700029
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 of Hacked Materials and its policy on Private Information. 2 Accordingly, Twitter did not make
 an impermissible in-kind contribution because it did not exclude the articles for the purpose of
 influencing a federal election.

         While the Tea Party Patriots Foundation misleadingly cites to a later version of Twitter’s
 Distribution of Hacked Materials Policy, 3 the version of that policy in place on October 14, 2020,
 when the New York Post published the relevant articles, prohibited the distribution of “hacked
 materials,” including by “posting hacked content on Twitter (e.g., in the text of a Tweet, or in an
 image)” or “linking to hacked content hosted on other websites.” 4 The policy explicitly applied
 only to republished hacked materials and not to discussion of “a hack that has taken place
 (including reporting on a hack, or sharing press coverage of hacking),” if such discussions did
 not include “private information, information that could put people at risk of physical harm or
 danger; and/or information related to trade secrets.” 5

         The Tea Party Patriots Foundation complaint also fails to mention that Twitter has a
 “Private Information Policy” that prohibits sharing “other people's private information without
 their express authorization and permission,” regardless of whether release of the private
 information is associated with hacking. 6 Personally identifying information subject to this
 policy includes non-public personal phone numbers and email addresses. 7




 2 See Declaration of Yoel Roth ¶¶ 13-17 (attached as Exhibit A to Twitter’s response in MUR

 7821).
 3
   The complaint filed by the Tea Party Patriots Foundation cites to the revised version of
 Twitter’s Distribution of Hacked Materials Policy that became effective on October 15, 2020.
 See Complaint at 4 n.6, MUR 7827. An earlier version of the Distribution of Hacked Materials
 Policy was in effect on October 14, when Twitter executed the policy enforcement action that is
 the subject of the complaint. See Natasha Lomas, Twitter Changes Its Hacked Materials Policy
 in Wake of New York Post Controversy, TechCrunch, Oct. 16, 2020,
 https://techcrunch.com/2020/10/16/twitter-changes-its-hacked-materials-policy-in-wake-of-
 new-york-post-controversy. Presumably, the Tea Party Patriots Foundation was aware that it
 was citing to an inapplicable version of the policy in its sworn complaint, as its complaint
 specifically noted that the Distribution of Hacked Materials Policy had been changed following
 the events at issue. See Complaint at 4, MUR 7827.
 4
  Twitter, Distribution of Hacked Materials Policy (effective Mar. 2019),
 https://web.archive.org/web/20200930214928/https://help.twitter.com/en/rules-and-
 policies/hacked-materials.
 5
     Id.
 6
  Twitter, Private Information Policy (effective Mar. 2019), https://help.twitter.com/en/rules-
 and-policies/personal-information.
 7
     Id.
                                            MUR782700030
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         The content blocked by Twitter plainly violated the Private Information Policy, as it
 contained non-public personal phone numbers and email addresses. 8 Twitter also determined
 in good faith that the content violated the Distribution of Hacked Materials Policy. By contrast,
 the September 2020 New York Times story regarding President Trump’s tax returns that the Tea
 Party Patriots Foundation cites as “proof” of a FECA violation9 only discussed, and did not
 republish, those tax returns, and so it did not violate the Distribution of Hacked Materials Policy
 in effect at the time. Nor did that story contain any of the specified private information covered
 by Twitter’s Private Information Policy.

          The Commission’s precedents provide that a “corporation’s bona fide commercial
 activity is neither ‘for the purpose of influencing any election for federal office’ nor ‘in
 connection with any election’ and thus is not a contribution or otherwise subject to regulation
 under the Act.” 10 The Tea Party Patriots Foundation offers no evidence to call into question the
 fact that Twitter excluded the articles from its platform based on its commercial interests
 reflected in pre-existing, politically neutral Rules and policies. Instead, remarkably, the
 complaint alleges that a FECA violation occurred based on Mr. Dorsey’s and Mr. Borrman’s
 personal political contribution history, emphasizing that Mr. Dorsey “has given to no
 Republican candidates for office this cycle” and that Mr. Borrman “has not contributed to any
 Republican candidates.” 11 This is legally irrelevant, to say the least. There is no Commission
 precedent for taking into account any respondent’s personal political contributions or
 affiliations, nor should there ever be. It would clearly violate the First Amendment for such
 factors to be considered in connection with any agency action.

       Second, Twitter’s content moderation decision was not coordinated with the Biden
 campaign. The Tea Party Patriots Foundation does not allege any coordination in its complaint,
 and none occurred.


 8
  See Emma-Jo Morris & Gabrielle Fonrouge, Smoking-Gun Email Reveals How Hunter Biden
 Introduced Ukrainian Businessman to VP Dad, N.Y. Post, Oct. 14, 2020,
 https://nypost.com/2020/10/14/email-reveals-how-hunter-biden-introduced-ukrainian-biz-
 man-to-dad; Emma-Jo Morris & Gabrielle Fonrouge, Hunter Biden Emails Show Leveraging
 Connections with His Father to Boost Burisma Pay, N.Y. Post, Oct. 14, 2020,
 https://nypost.com/2020/10/14/hunter-biden-emails-show-leveraging-connections-with-dad-
 to-boost-burisma-pay/.
 9
   See Complaint at 5, MUR 7827 (citing Russ Buettner, Susanne Craig & Mike McIntire, Long
 Concealed Records Show Trump’s Chronic Losses and Years of Tax Avoidance, N.Y. Times,
 Sept. 27, 2020, https://www.nytimes.com/interactive/2020/09/27/us/donald-trump-
 taxes.html).
 10
   Advisory Opinion 2014-06 (Ryan, Ryan for Congress, and Prosperity Action) at 9 (citing MUR
 5474 and 5539 (Dog Eat Dog Films, Inc.), First General Counsel’s Report at 13-17; Advisory
 Opinion 1994-30 (Conservative Concepts/Pence) at 3-7; Advisory Opinion 1989-21 (Create-a-
 Craft) at 4); see also MUR 5485 (Conversagent, Inc.), First General Counsel’s Report; MUR
 5485, Certification (voting 4-0 to find no reason to believe).
 11
      See Complaint at 7-8, MUR 7827 (emphasis in original).
                                            MUR782700031
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         Third, Twitter’s enforcement of its Rules and policies falls within the Commission’s
 media exemption. The Tea Party Patriots Foundation asserts that the media exemption is
 inapplicable to Twitter “because it does not publish original content.” 12 This is, first of all,
 incorrect as a factual matter. Twitter does create headlines and summaries for certain trending
 topics on the platform. 13 And the Commission has held repeatedly that the media exemption
 applies to websites and other internet publications that, like Twitter, mostly distribute content
 created by third parties. 14

          Fourth, Section 230 of the Communications Decency Act precludes any finding of
 liability for Twitter’s content moderation decisions, as does the First Amendment. The Tea
 Party Patriots Foundation even acknowledges that Twitter is an “interactive service provider”
 covered by Section 230. 15




 12
      Id. at 10.
 13
   See @TwitterSupport, Twitter (Sept. 8, 2020, 4:01 PM),
 https://twitter.com/TwitterSupport/status/1303423326065487878.
 14
   Advisory Opinion 2000-13 (iNEXTV) (determining that an internet video service that “does
 not create programming under its own name” but “operates its own network of specialized news
 and information sites” qualified for the media exemption); see also Advisory Opinion 2005-16
 (Fired Up) (determining that websites qualified for the media exemption when “a primary
 function of the websites is to provide news and information to readers through Fired Up’s
 commentary on, quotes from, summaries of, and hyperlinks to news articles appearing on other
 entities’ websites and through Fired Up’s original reporting”); Advisory Opinion 1996-16
 (Bloomberg) (determining that an online candidate forum in which non-journalist online guests
 asked questions of the candidates qualified for the media exemption).
 15
      See Complaint at 10, MUR 7827.
                                          MUR782700032
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                                               ***

        For the reasons stated above, as well as in Twitter’s response in MUR 7821, we
 respectfully request that the Commission dismiss the Complaint.

                                                           Respectfully submitted,



                                                            ~
                                                           ______________________

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 Attachment
                                   MUR782700033
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                             Attachment
                                                          MUR782700034
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 Via Electronic Mail                                                      December 21, 2020

 Mr. Jeff S. Jordan
 Federal Election Commission
 Office of Complaints Examination
   and Legal Administration
 1050 1st Street NE
 Washington, DC 20463


            Re: MUR7821

 Dear Mr. Jordan:

        We write on behalf of our client, Twitter, Inc., in response to the complaint filed by the
 Republican National Committee ("RNC") in the above-captioned matter under review. The
 complaint asse1ts that Twitter made an impermissible corporate in-kind contribution to Biden
 for President, the principal campaign committee for President-elect Joe Biden, when Twitter
 removed from its platform two articles published by the New York Post ("N.Y. Post") that
 violated Twitter's pre-existing, politically neutral Rules and policies. For the reasons stated
 below, Twitter's enforcement of its Rules and policies concerning hacked materials and private
 information did not constitute an in-kind contribution or in any way violate the Federal Election
 Campaign Act of 1971, as amended ("FECA").

         First, the decision by Twitter to block potentially hacked content that cont ained private
 information such as email addresses, phone numbers, and personal photographs was not an
 impermissible in-kind contribution because it was not undert aken for the purpose of influencing
 a federal election. Rather, Twitter undertook, for bona fide commercial reasons, to enforce pre­
 existing Rules and policies intended to protect the safety, integrity, and commercial viability of
 its social media platform.

        Second, Twitter's content moderation decision was not coordinated with the Biden
 campaign. Because there was no coordination, nor even an expenditure, there was no in-kind
 contribution.

        Third, Twitter's enforcement of its Rules and policies falls within the Commission's
 media exemption, and therefore the decision to remove the N.Y. Post articles could not
 constitute a contribution or expenditure.

        Fourth, Section 230 of the Communications Decency Act, as well as the First
 Amendment to the United States Constitution, preclude any finding of liability for Twitter's
 content moderation decisions.
                                              MUR782700035
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         The RNC’s premise, that enforcement of a social media company’s content moderation
 policies causes an in-kind contribution when the content at issue relates even indirectly to a
 campaign committee, is also troubling as a matter of policy. It would call for the Commission to
 micromanage, through enforcement actions rather than rule-making, the social media industry’s
 judgments regarding the balance to be struck between safety of their platforms on the one hand
 and unfettered political speech on the other. The Commission need not reach those uncharted
 waters here, for under current law, no violation occurred.

         Accordingly, the Commission should find that there is no reason to believe that Twitter
 violated FECA and should dismiss the complaint with no further action.

 I.        Factual Background

        Twitter is a publicly traded corporation that allows users to communicate through 280-
 character messages called “Tweets” that are posted on its website and through its associated
 mobile apps. Many users employ Twitter to share and consume news and commentary on
 current events. 1 Twitter, which is free to use for all users, is designed “to serve the public
 conversation.” 2 Like many media organizations, it derives the vast majority of its revenue from
 advertising. 3

           A.     Content Moderation Policies

          In keeping with industry standards, Twitter enforces its own Rules and policies to ensure
 that all people can participate in the public conversation freely and safely. This content
 moderation entails reviewing and, if necessary, removing content that may implicate concerns
 ranging from user safety, individual privacy, and sexually explicit content, to threats of violence,
 hacking, and foreign disinformation campaigns. Twitter’s Terms of Service, which all users
 acknowledge when they open their accounts, specifies that Twitter may “remove or refuse to
 distribute any Content on the Services, limit distribution or visibility of any Content on the
 service, suspend or terminate users, and reclaim usernames.” 4 The Terms of Service therefore
 provide a contractual basis for the steps Twitter needs to take to enforce its Rules and policies
 when they appear to have been violated.

         In its public securities filings, Twitter has identified a significant risk to its business if
 “there is a decrease in the perceived quality, usefulness, trustworthiness or relevance of the
 content generated by people on Twitter or content partners.” 5 Twitter also sees a business risk

 1
  See, e.g., Elisa Shearer & Elizabeth Grieco, News Use Across Social Media Platforms 2018,
 Pew Research Center (Sept. 10, 2018).
 2
  Twitter, The Twitter Rules, https://help.twitter.com/en/rules-and-policies/twitter-rules (last
 visited Dec. 20, 2020).
 3
     Twitter, Inc. Quarterly Report (Form 10-Q), at 14 (Oct. 30, 2020).
 4
     Twitter, Terms of Service, https://twitter.com/en/tos (effective June 18, 2020).
 5
     Form 10-Q, supra note 3 at 46.
                                              MUR782700036
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 from negative publicity based on the “quality and reliability” of content shared on the platform
 and from lax policy enforcement. 6 In fact, advertisers have pressed for Twitter to take greater
 steps to police content on the platform. 7 Recognizing the expectations of its users and
 advertisers, Twitter has undertaken efforts “to improve the health of the public conversation on
 Twitter,” and as a core commercial objective, it has concentrated on the “reduction of abuse,
 harassment, spam, manipulation and malicious automation on the platform.” 8

         The company has established a variety of policies that seek to balance its commercial
 interest in promoting a free and active dialogue among its users with the reputational imperative
 to address false, misleading, and harmful content on its platform. Enforcement of Twitter’s
 politically neutral policies has resulted in actions against content posted by users across the
 political spectrum, Democrats and Republicans alike. 9

         Twitter’s Site Integrity Team is responsible for creating and enforcing the content
 moderation policies, and it reviews all content identified for review, for compliance with these
 policies. 10 Content may be flagged for review to determine compliance with Twitter’s Rules and
 policies based on reports from visitors to the website or users of the mobile application, or
 through internal machine-learning processes that identify content that may violate Twitter
 Rules and policies. 11


 6
     Id. at 52.
 7
  See, e.g., Kurt Wagner & Thomas Buckley, Facebook, Twitter Tumble on Unilever’s Social-
 Media Pullback, Bloomberg, June 26, 2020, https://www.bloomberg.com/news/articles/2020-
 06-26/unilever-will-halt-us-ads-on-facebook-twitter-through-2020.
 8
     Form 10-Q, supra note 3 at 49.
 9
  See, e.g., @TwitterComms, Twitter (Oct. 2, 2020, 7:09 PM),
 https://twitter.com/TwitterComms/status/1312167835783708672; Matt Keeley, Twitter Fact-
 Checks Debra Messing Trump-Hitler Tweet after Newsweek Query, Newsweek, June 2, 2020,
 https://www.newsweek.com/twitter-fact-checks-debra-messing-trump-hitlertweet-after-
 newsweek-query-1508253; Cristiano Lima, Twitter Forces Democratic Candidate to Delete Post
 Flouting Voter Suppression Rules, Politico, Sept. 1, 2020,
 https://www.politico.com/news/2020/09/01/texas-democrat-deleted-twitter-post-407031;
 Derrick Bryson Taylor, Twitter Permanently Suspends Accounts of Ilhan Omar’s Potential
 Challenger, N.Y. Times, Nov. 30, 2019, https://www.nytimes.com/2019/11/30/us/Danielle-
 Stella-Twitter-Ilhan-Omar.html.
 10
      Declaration of Yoel Roth (“Roth Decl.”) ¶ 5 (attached as Exhibit A).
 11
   Id. ¶¶ 3-4. Officeholders, candidates, campaigns, and party committees may submit requests
 for Tweets to be reviewed for compliance with Twitter’s Rules and policies to the Public Policy
 group, their primary point of contact at Twitter. See Declaration of Lauren Culbertson
 (“Culbertson Decl.”) ¶¶ 3-5 (attached as Exhibit B). The Public Policy teams forward these
 requests to the Site Integrity Team for review. Id. ¶ 5.
                                              MUR782700037
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                   1.       Distribution of Hacked Materials Policy

         In 2018, partly in response to events during the 2016 election, Twitter instituted a
 “Distribution of Hacked Materials Policy” 12 to discourage and mitigate harms associated with
 hacks and unauthorized exposure of private information (referred to below as the “Hacked
 Materials Policy”). 13 The version of the Hacked Materials Policy in place on October 14, 2020,
 when the N.Y. Post published its articles about Hunter Biden, prohibited the distribution of
 “hacked materials,” including by “posting hacked content on Twitter (e.g., in the text of a Tweet,
 or in an image)” or “linking to hacked content hosted on other websites.” 14 The policy explicitly
 applied only to republished hacked materials and not to discussion of “a hack that has taken
 place (including reporting on a hack, or sharing press coverage of hacking)” if such discussions
 did not include someone’s “private information, information that could put people at risk of
 physical harm or danger; and/or information related to trade secrets.” 15 In other words, a news
 article or Tweet that only described hacked materials would not violate the policy, but one
 reproducing those materials would. Under this policy, “hacked materials” included materials
 obtained in any way by “compromis[ing] or infiltrat[ing] computer systems for malicious
 purposes.” 16

          Twitter’s Site Integrity Team assesses content on Twitter’s platform and makes a
 determination regarding whether material should be considered “hacked” for purposes of the
 policy. 17 In many cases, content distributors will assert publicly that the information was
 hacked, thus eliminating the need for a determination. 18 In other cases, the Site Integrity Team
 looks for indicia of hacking to evaluate whether the materials being shared appear to have been
 hacked. 19 Per the version of the Hacked Materials Policy in effect on October 14, 2020,
 violations of the Hacked Materials Policy were enforced, depending on whether the user
 participated in the underlying hack, either by permanently suspending the user from Twitter or




 12
   Twitter, Distribution of Hacked Materials Policy (effective Oct. 30, 2020),
 https://help.twitter.com/en/rules-and-policies/hacked-materials.
 13
   Twitter, Distribution of Hacked Materials Policy (effective Mar. 2019),
 https://web.archive.org/web/20200930214928/https://help.twitter.com/en/rules-and-
 policies/hacked-materials; see also @TwitterSafety, Twitter (Oct. 15, 2020, 10:06 PM),
 https://twitter.com/vijaya/status/1316923552549998594.
 14
      Distribution of Hacked Materials Policy (effective Mar. 2019), supra note 13.
 15
      Id.
 16
      Id.
 17
      Roth Decl. ¶¶ 2, 9.
 18
      Id. ¶ 9.
 19
      Id.
                                              MUR782700038
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 by preventing the user’s account from sending new Tweets until the offending Tweet was deleted
 by the user. 20

                  2.      Private Information Policy

         In addition to the Hacked Materials Policy, Twitter has a “Private Information Policy”
 that prohibits sharing “other people’s private information without their express authorization
 and permission,” regardless of whether release of the private information is associated with
 hacking. 21 Personally identifying information subject to this policy includes: home address or
 physical location information; identity documents, including government-issued IDs and social
 security or other national identity numbers; contact information, including non-public personal
 phone numbers or email addresses; financial account information, including bank account and
 credit card details; and other private information, including biometric data or medical records. 22
 First-time violations of the Private Information Policy are enforced by preventing the user’s
 account from tweeting until the offending Tweet is deleted, and subsequent violations are
 enforced by permanent suspension from Twitter. 23

            B.    Twitter’s Response to Tweets Disseminating the N.Y. Post Articles

         On October 14, 2020, the N.Y. Post, a daily tabloid publication, published two articles on
 its website regarding emails and other personal materials said to have been found on a hard
 drive allegedly belonging to Hunter Biden, the son of then-presidential candidate Joe Biden
 (together, “the N.Y. Post articles”). 24 The N.Y. Post articles republished unredacted copies of
 emails that clearly included personal email addresses and phone numbers, along with personal
 photographs of Hunter Biden and his family. 25

         Twitter had been warned throughout 2020 by federal law enforcement agencies to be on
 the alert for expected “hack-and-leak operations” undertaken by malign state actors, in which
 those state actors might hack electronic communications of individuals associated with political

 20
      Distribution of Hacked Materials Policy (effective Mar. 2019), supra note 13.
 21
   Twitter, Private Information Policy (effective Mar. 2019), https://help.twitter.com/en/rules-
 and-policies/personal-information.
 22
      Id.
 23
      Id.
 24
   Emma-Jo Morris & Gabrielle Fonrouge, Smoking-Gun Email Reveals How Hunter Biden
 Introduced Ukrainian Businessman to VP Dad, N.Y. Post, Oct. 14, 2020,
 https://nypost.com/2020/10/14/email-reveals-how-hunter-biden-introduced-ukrainian-biz-
 man-to-dad [hereinafter Smoking Gun]; Emma-Jo Morris & Gabrielle Fonrouge, Hunter Biden
 Emails Show Leveraging Connections with His Father to Boost Burisma Pay, N.Y. Post, Oct.
 14, 2020, https://nypost.com/2020/10/14/hunter-biden-emails-show-leveraging-connections-
 with-dad-to-boost-burisma-pay/ [hereinafter Hunter Biden Emails].
 25
      Smoking Gun, supra note 24; Hunter Biden Emails, supra note 24.
                                            MUR782700039
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 campaigns and seek to disseminate the leaked materials over Twitter and other social media
 platforms. 26 Reports from the law enforcement agencies even suggested there were rumors that
 such a hack-and-leak operation would be related to Hunter Biden. 27 Significant questions about
 the provenance of the materials arose immediately after the N.Y. Post published the articles. 28
 The N.Y. Post asserted in the articles that it obtained the materials from Rudolph Giuliani who,
 per Mr. Giuliani’s lawyer, received them from the owner of a Delaware computer repair shop. 29
 According to the N.Y. Post, the computer shop owner said that a customer, whom the “shop
 owner couldn’t positively identify,” brought in a “water-damaged MacBook Pro for repair” but
 “never paid for the service or retrieved it or a hard drive on which its contents were stored.” 30
 The N.Y. Post reported that the shop owner said that he alerted federal law enforcement to the
 existence of the hard drive, but, before it was seized by law enforcement, he made a copy of the
 hard drive and gave it to Mr. Giuliani’s lawyer. 31

         On October 14, 2020, the same day the N.Y. Post articles were published and
 disseminated by the N.Y. Post on its Twitter account, Twitter’s Site Integrity Team, led by Yoel
 Roth, reviewed the articles for compliance with Twitter’s content moderation policies. 32 Given
 the prior warnings of a hack-and-leak operation and doubts about the provenance of the
 materials republished in the N.Y. Post articles, the Site Integrity Team preliminarily determined
 that the materials could have been obtained through hacking, as defined in the Hacked
 Materials Policy. 33 Additionally, the published materials contained unredacted private email
 addresses, including one that appeared to belong to Hunter Biden, and phone numbers, in clear
 violation of the Private Information Policy.

        Mr. Roth escalated the matter internally, and Twitter determined that, based on then-
 available information, the N.Y. Post articles violated the policies on Hacked Materials and




 26
   See Roth Decl. ¶¶ 10-11; see also Alfred Ng, How Social Networks Are Preparing for a
 Potential October Hack-and-Leak, CNET, Oct. 9, 2020, https://www.cnet.com/news/how-tech-
 platforms-are-preparing-for-a-potential-october-hack-and-leak.
 27
      Roth Decl. ¶ 11.
 28
   See id. ¶¶ 10-11; see also Devin Coldewey, Suspect Provenance of Hunter Biden Data Cache
 Prompts Skepticism and Social Media Bans, TechCrunch, Oct. 14, 2020,
 https://techcrunch.com/2020/10/14/suspect-provenance-of-hunter-biden-data-cache-
 prompts-skepticism-and-social-media-bans/.
 29
      See Smoking Gun, supra note 24.
 30
      Id.
 31
      Id.
 32
      Roth Decl. ¶¶ 12-14.
 33
      Id. ¶ 13.
                                              MUR782700040
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 Private Information that were in effect at the time. 34 Accordingly, Twitter imposed the
 measures set out in those policies: It prohibited users from sharing links to the articles, and it
 prevented the accounts of users who had previously shared the links from sending new Tweets
 until those users deleted the offending Tweet. 35 Because Twitter does not delete users’ Tweets,
 the company instead puts a restriction on accounts that have posted material that violates
 Twitter’s policies. 36 The restriction allows the user’s profile and all non-offending Tweets to
 remain visible, but prevents the user from posting any additional Tweets until they themselves
 delete the Tweets that were found to violate the site’s policies. 37 None of these steps prevented
 users from discussing the N.Y. Post articles on Twitter, including the content of those articles, as
 long as the Tweets did not link to or show, and therefore further disseminate, the specific
 articles that Twitter had determined contained materials that violated its policies.

        No one at Twitter, including the personnel responsible for applying and enforcing the
 content moderation policies, had any communications with the Biden presidential campaign,
 the Democratic National Committee, or their agents regarding the N.Y. Post articles before
 making the determination that the materials violated the Twitter Rules and policies. 38

 II.        Analysis

         Twitter’s enforcement of its commercially reasonable, pre-existing content moderation
 policies did not cause the company to make an in-kind contribution to the Biden for President
 campaign committee.

            A.    Twitter’s Actions Were Not “for the Purpose of Influencing” a Federal
                  Election.

        Temporarily blocking the N.Y. Post articles from the platform when enforcing its Hacked
 Materials Policy and Private Information Policy was not an expenditure by Twitter for the


 34
   Id. ¶¶ 15-16; see also @TwitterSafety, Twitter (Oct. 14, 2020, 7:44 PM),
 https://twitter.com/TwitterSafety/status/1316525306656718848 (“The images contained in the
 articles include personal and private information — like email addresses and phone numbers —
 which violate our rules.”); @TwitterSafety, Twitter (Oct. 14, 2020, 7:44 PM),
 https://twitter.com/TwitterSafety/status/1316525305796980737 (“As noted this morning, we
 also currently view[ed] materials included in the articles as violations of our Hacked Materials
 Policy.”).
 35
   Roth Decl. ¶ 17; Distribution of Hacked Materials Policy (effective Mar. 2019), supra note 13;
 Private Information Policy (effective Mar. 2019), supra note 21.
 36
   Twitter, Our Range of Enforcement Options, https://help.twitter.com/en/rules-and-
 policies/enforcement-options (last visited Dec. 20, 2020).
 37
      Id.
 38
      See Roth Decl. ¶¶ 18-19; Culbertson Decl. ¶¶ 8-9.
                                             MUR782700041
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 benefit of Biden for President. Twitter enforced those policies for bona fide commercial reasons
 and not “for the purpose of influencing any election for Federal office.” 39

         FECA and Commission regulations prohibit corporations from making contributions or
 expenditures in connection with federal elections. 40 A “contribution” includes “any gift,
 subscription, loan, advance, or deposit of money or anything of value made by any person for
 the purpose of influencing any election for Federal office.” 41 Prohibited corporate contributions
 also include, “any direct or indirect payment . . . or any services, or anything of value . . . to any
 candidate, campaign committee, or political party or organization, in connection with any
 [federal] election.” 42

         Longstanding Commission precedents establish that a “corporation’s bona fide
 commercial activity is neither ‘for the purpose of influencing any election for federal office’ nor
 ‘in connection with any election’ and thus is not a contribution or otherwise subject to regulation
 under the Act.” 43 These precedents reflect the Commission’s prudent reluctance to second guess
 reasonable business judgments, absent evidence that they are made for the purpose of
 influencing a federal election rather than for legitimate commercial reasons.

         An action taken by a corporation in the ordinary course of business does not become
 subject to FECA merely because it is alleged to provide an incidental benefit to a political
 candidate, as the RNC claims here. 44 The Commission, for example, has determined that a
 business does not make a contribution or expenditure to a federal candidate when it uses
 corporate resources to demand a retraction to a negative news story about that candidate, if the
 purpose of the demand is “to defend its business reputation.” 45 A business may provide free
 services to federal candidates without making a contribution when it does so “based on
 commercial and not political considerations.” 46 A business may also mention federal candidates


 39
      See 52 U.S.C. §§ 30101(8)(A), 30118(b)(2).
 40
      Id. § 30118(a).
 41
      Id. §§ 30101(8)(A), 30118(b)(2) (emphasis added).
 42
      Id. § 30118(b)(2).
 43
   Advisory Opinion 2014-06 (Ryan, Ryan for Congress, and Prosperity Action) at 9 (citing MUR
 5474 and 5539 (Dog Eat Dog Films, Inc.), First General Counsel’s Report at 13-17; Advisory
 Opinion 1994-30 (Conservative Concepts/Pence) at 3-7; and Advisory Opinion 1989-21 (Create-
 a-Craft) at 4); see also MUR 5485 (Conversagent, Inc.), First General Counsel’s Report; MUR
 5485, Certification (voting 4-0 to find no reason to believe).
 44
   MUR 6586 (World Wrestling Entertainment, Inc.), Notification with Legal and Factual
 Analysis.
 45
      See id.
 46
   See Advisory Opinion 2018-11 (Microsoft) (determining that Microsoft’s commercially
 reasonable efforts “to protect its brand reputation” did not amount to a prohibited in-kind
                                            MUR782700042
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 by name in paid advertisements to promote itself without those advertisements becoming
 contributions or expenditures. 47 A vendor providing services to political committees “may
 establish objective business criteria to protect the commercial viability of its business without
 making contributions to the committees that meet those criteria.” 48 And “businesses that
 provide services to contributors . . . may also rely on commercial considerations to target
 customers and limit the range of services provided, without making any contributions
 themselves.” 49

         In this case, Twitter enforced its Hacked Materials Policy and Private Information Policy
 for bona fide commercial reasons, in the ordinary course of business, and in accordance with its
 pre-existing policies. Its enforcement action was fully consistent with its stated business
 purpose of “serving the public conversation.” Twitter engages in content moderation to
 maintain trust in the service and keep its users engaged, so that it can sell goods and services—
 advertising and data licensing. As Twitter’s federal securities filings recognize, non-enforcement
 of known violations of its content policies can lead to reputational and business risks, and
 Commission precedents rightly afford Twitter the needed latitude to take actions to minimize
 those risks.

           That Twitter did not exclude the N.Y. Post articles for the purpose of influencing an
 election is particularly clear because the company simply implemented its pre-existing policies,
 which are politically neutral on their face. The N.Y. Post articles plainly violated Twitter’s
 Private Information Policy, as they reproduced materials containing personal email addresses
 and phone numbers. That alone justified the enforcement action. Additionally, the company
 reasonably agreed with other observers (and, apparently, with members of the N.Y. Post’s own
 staff) 50 in its determination that the materials republished in the N.Y. Post articles appeared to
 have been obtained through hacking and thus violated the Hacked Materials Policy. Once it was
 determined that sharing the N.Y. Post articles violated the policies, Twitter enforced the rules as


 contribution when the company provided election-sensitive customers with free account
 security services that were “in the ordinary course of [its] business”).
 47
   See Advisory Opinion 2019-18 (IDF) (concluding that advertisements mentioning presidential
 candidates that are meant to drive internet traffic to a commercial website and that “do not
 espouse any public positions on any candidate or political party or contain express advocacy”
 are not contributions or expenditures).
 48
   Advisory Opinion 2017-06 (Stein and Gottlieb); see also Advisory Opinion 2012-28 (CTIA)
 (“A change in business practices or rates would not necessarily result in an in-kind
 contribution.”).
 49
      Advisory Opinion 2017-06 (Stein and Gottlieb).
 50
   Katie Robertson, New York Post Published Hunter Biden Report amid Newsroom Doubts,
 N.Y. Times, Oct. 18, 2020, https://www.nytimes.com/2020/10/18/business/media/new-york-
 post-hunter-biden.html (reporting that N.Y. Post “staff members questioned whether the paper
 had done enough to verify the authenticity of the hard drive’s contents” and “also had concerns
 about the reliability of its sources and its timing”).
                                            MUR782700043
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 set out in its policy documents, by preventing the user from sending new Tweets until the
 offending Tweet was deleted. Also consistent with its policies, Twitter did not take any action to
 block or minimize distribution of content that merely discussed the subject matter of the N.Y.
 Post articles without republishing the unredacted emails included within the articles. 51

         While the RNC complaint calls Twitter’s enforcement of its policies “unprecedented
 actions,” 52 in actual fact Twitter constantly evaluates and takes action against material that
 violates its Rules and policies. In the last period for which data is publicly available, Twitter
 took down almost 16,000 Tweets per day. 53 Twitter enforces its Rules and policies without
 regard to political considerations. For example, when President Trump was diagnosed with
 COVID-19, Twitter announced that “tweets that wish or hope for death, serious bodily harm or
 fatal disease against *anyone* are not allowed and will need to be removed.” 54 In August 2020,
 Twitter required a Democratic candidate for the House of Representatives to remove a Tweet for
 violating the platform’s voter suppression rules. 55 In June 2020, Twitter labeled a Tweet by
 actress Debra Messing that compared “President Donald Trump's photo op at St. John’s church
 to an edited image of Nazi dictator Adolf Hitler appearing to show a Bible in a similar pose” as
 “manipulated media.” 56 The treatment of the N.Y. Post articles was nonpolitical and consistent
 with the version of Twitter’s Hacked Materials Policy in effect on October 14, 2020, as well as
 with past content moderation decisions relating to potentially hacked materials.



 51
    This treatment is consistent with the version of Twitter’s Hacked Materials Policy in effect on
 October 14 and with past moderation decisions relating to potentially hacked materials. For
 instance, the September 2020 New York Times story regarding President Trump’s tax returns
 cited by the RNC merely discussed but did not republish those tax returns and therefore was not
 subject to enforcement action. Nor did that story contain any of the specified private
 information covered by Twitter’s Private Information Policy established in March 2019 and in
 effect at the time. See Complaint at 3-4, MUR 7821.
 52
      Id. at 2.
 53
   Twitter, Rules Enforcement (July – Dec. 2019),
 https://transparency.twitter.com/en/reports/rules-enforcement.html#2019-jul-dec.

 54
   @TwitterComms, Twitter (Oct. 2, 2020, 7:09 PM),
 https://twitter.com/TwitterComms/status/1312167835783708672; see also Bobby Allyn,
 Facebook, Twitter and TikTok Say Wishing Trump's Death from COVID-19 Is Not Allowed,
 NPR, Oct. 2, 2020, https://www.npr.org/sections/latest-updates-trump-covid-19-
 results/2020/10/02/919778961/facebook-twitter-and-tiktok-say-wishing-trumps-death-from-
 covid-is-not-allowed.
 55
    Lima, supra note 9. The violative Tweet was a reply Tweet that read, “Thank you! And remind
 all of your Trump supporting relatives to vote on Wednesday, November 4! (Since they’re
 Trump supporters, they might fall for it. Just saying....).” Id.
 56
      Keeley, supra note 9.
                                            MUR782700044
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         The RNC has made no showing, beyond mere speculation, that Twitter’s enforcement
 action excluding the N.Y. Post articles from its platform was made for any political purpose, let
 alone for the purpose of influencing the 2020 presidential election. The RNC’s blanket
 assertions about the partisan leanings of Twitter officers and employees are legally and factually
 irrelevant. The Commission correctly disregards such speculative allegations, particularly where
 the respondent, as Twitter does here, refutes them. 57

        Twitter’s actions were squarely consistent with the company’s commercial interests and
 were undertaken in keeping with Twitter’s pre-existing content moderation policies, resulting in
 no expenditure.

            B.     Twitter Did Not Coordinate with Any Federal Candidate or Political
                   Party.

        FECA treats a coordinated expenditure as an in-kind contribution. 58 Here there was
 neither an expenditure nor coordination, however, and for this reason as well, there was no in-
 kind contribution.

           The Commission’s regulations provide that “any expenditure” by an individual or
 organization “that is coordinated” with a campaign or political party is “an in-kind contribution
 to . . . the candidate or political party committee with whom or with which it was coordinated.” 59
 An expenditure is “coordinated” with a campaign or political party committee if it is “made in
 cooperation, consultation or concert with, or at the request or suggestion of” the campaign or
 party. 60

         As explained below, Twitter’s content moderation decisions with respect to the N.Y. Post
 articles are subject to the media exemption and therefore do not constitute an “expenditure”
 within the meaning of FECA. Moreover, it is doubtful that any actual expenditure could be
 associated with Twitter’s nearly automatic enforcement of its policies. Regardless, there was no
 coordination. Twitter did not receive a request from the Biden campaign to review (much less
 restrict) the N.Y. Post articles. 61 Nor did decision-makers at Twitter, or to the best of the
 company’s knowledge, anyone authorized to act on Twitter’s behalf even communicate with the

 57
    See MUR 5467 (Michael Moore), First General Counsel’s Report at 5 (“Purely speculative
 charges, especially when accompanied by a direct refutation, do not form the adequate basis to
 find reason to believe that a violation of [the Act] has occurred.”) (quoting MUR 4960 (Hillary
 Rodham Clinton et al.), Statement of Reasons at 3); see also MUR 4850 (Deloitte & Touche,
 LLP), Statement of Reasons of Chairman Darryl R. Wold and Commissioners David M. Mason
 and Scott E. Thomas at 2 (“[a] mere conclusory allegation without any supporting evidence does
 not shift the burden of proof to the respondents”).
 58
      11 C.F.R. § 109.20(b).
 59
      Id.
 60
      Id. § 109.20(a).
 61
      Culbertson Decl. ¶¶ 8-9.
                                              MUR782700045
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 Biden campaign regarding Twitter’s decision to enforce its content moderation policies with
 respect to the N.Y. Post articles. 62

         Accordingly, there was no coordinated expenditure resulting in an in-kind contribution
 to the Biden for President campaign committee.

            C.    Twitter’s Content Moderation Decisions Are Subject to the Media
                  Exemption.

         Twitter is a “media entity,” as defined under the Commission’s media exemption,
 carrying news and commentary. For this reason too, its decisions regarding moderation of the
 news and commentary posted on its website do not constitute contributions or expenditures
 subject to regulation by the Commission. Deciding what content to include or exclude from a
 media platform, including under applicable content policies, is a core function associated with
 any media entity, whether a newspaper, television station, or social media website. Twitter’s
 enforcement of its pre-existing content moderation policies with respect to the N.Y. Post articles
 therefore falls squarely within the media exemption.

          Commission regulations exclude from the definition of contribution or expenditure
 “[a]ny cost incurred in covering or carrying a news story, commentary, or editorial by any
 broadcasting station (including a cable television operator, programmer or producer), Web site,
 newspaper, magazine, or other periodical publication, including any Internet or electronic
 publication.” 63 To determine whether this media exemption applies, the Commission uses a
 two-step analysis, first asking whether the entity engaging in the activity is a media entity. If it
 is, the Commission then asks whether it is owned or controlled by a political party, political
 committee, or candidate (which would take it outside the scope of the media exemption) and
 whether it is acting in its capacity as a media entity in conducting the activity at issue. The
 Commission has framed this latter inquiry as whether the activity at issue is within the entity’s
 “legitimate press function.” 64

        Twitter is a media entity because its platform is a “Web site” that is both an “Internet . . .
 publication” itself and a carrier of content posted by other Internet publications. The
 Commission “has not limited the definition of ‘media entity’ to ‘traditional news outlets.’”
 Instead, it gives the term “media entity” a “broad interpretation.” 65 This is especially so with
 respect to the Internet because the Commission has recognized the Internet to be “a unique and
 evolving mode of mass communication and political speech that is distinct from other media in



 62
      Roth Decl. ¶¶ 18-19; see also Culbertson Decl. ¶¶ 8-9.
 63
   Id. § 100.73 (addressing contributions) (emphasis added); see also 52 U.S.C. § 30101(9)(B)(i)
 (addressing expenditures); 11 C.F.R. § 100.132.
 64
   See Advisory Opinion 2019-05 (System73) at 4 (citing Advisory Opinion 2016-01 (Ethiq) at 2-
 4 and Reader’s Digest Ass’n v. FEC, 509 F. Supp 1210, 1215 (S.D.N.Y. 1981)).
 65
      Id.
                                               MUR782700046
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 a manner that warrants a restrained regulatory approach.” 66 As “used in the Commission’s
 media exemption regulations, ‘[t]he terms “Web site” and “any Internet or electronic
 publication” are meant to encompass a wide range of existing and developing technology, such
 as websites, “podcasts,” etc.’” 67

          Media entities covered by the media exemption are entities that “cover or carry news
 stories, commentary, and editorials on the Internet.” 68 Twitter routinely carries news stories,
 commentary, and editorials on its website. 69 Moreover, an entity does not need to create its own
 content to be covered by the media exemption. To the contrary, the Commission has held
 repeatedly that a website or other internet publication, like Twitter, that mostly distributes
 content created by third parties is treated as a media entity for purposes of the media
 exemption. 70 For example, in Advisory Opinion 2019-05 (System73), the Commission noted
 that it interprets the term “commentary” in its regulatory media exemption “broadly to include
 not only commentary by the media entity and its staff, but also guest commentary.” 71 The
 Commission has also indicated “that a characteristic of periodicals qualifying as press entities is
 that they derive revenues from the sale of subscriptions or advertising.” 72 Twitter derives the
 majority of its revenue from advertising. 73 Accordingly, because Twitter is a website that carries
 third-party news and commentary to generate advertising revenue, it is a “media entity” within
 the meaning of the Commission’s regulations.




 66
      Advisory Opinion 2008-14 (Melothé) at 3-4.
 67
   Advisory Opinion 2016-01 (Ethiq) (quoting Internet Communications, 71 Fed. Reg. at 18608
 n.52).
 68
      Internet Communications, 71 Fed. Reg. 18589, 18608 (Apr. 12, 2006) (emphasis added).
 69
      See, e.g., Shearer & Grieco, supra note 1.
 70
   Advisory Opinion 2000-13 (iNEXTV) (determining that an internet video service that “does
 not create programming under its own name” but “operates its own network of specialized news
 and information sites” qualified for the media exemption); see also Advisory Opinion 1996-16
 (Bloomberg) (determining that an online candidate forum in which non-journalist online guests
 asked questions of the candidates qualified for the media exemption); Advisory Opinion 2005-
 16 (Fired Up) (determining that websites qualified for the media exemption when “a primary
 function of the websites is to provide news and information to readers through Fired Up’s
 commentary on, quotes from, summaries of, and hyperlinks to news articles appearing on other
 entities’ websites and through Fired Up’s original reporting”).
 71
      Advisory Opinion 2019-05 (System73).
 72
      Advisory Opinion 2000-13 (iNEXTV).
 73
      Form 10-Q, supra note 3 at 14.
                                             MUR782700047
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         To avail itself of the media exemption, a media entity must not be owned or controlled by
 a political party, political committee, or candidate. Twitter, a publicly traded company, is not so
 owned or controlled. 74

          The Commission has interpreted the legitimate press function of media entities to
 encompass a broad range of activities, finding that a media entity providing coverage of
 campaign events would be a legitimate press function even if the media entity covered
 campaigns only from one political party and not the other. 75 Likewise, the Commission has held
 that an Internet-based media entity that streamed campaign events consisting solely of content
 created by the campaign committees would be engaged in a legitimate press function. 76 In
 contrast, the Commission has found activities by media entities not to be a legitimate press
 function only when they involve direct campaigning unrelated to any press function. For
 example, in Advisory Opinion 2008-14 (Melothé), the Commission held that issuing awards to
 campaign volunteers, conducting regular fundraising drives for candidates, and holding daily
 briefings for campaign volunteers would not be “legitimate press function[s].” 77

         Twitter’s enforcement of its content moderation policies with respect to the N.Y. Post
 articles, unlike conducting fundraising for a candidate or issuing awards to campaign
 volunteers, reflects a core function of any social media organization to ensure that news and
 commentary posted on its site conform to its Rules and policies intended to protect users of the
 site and third parties. Traditional media organizations have long exercised the same editorial
 control over content they publish to preserve editorial standards and respect privacy interests of
 individuals. Content moderation is a legitimate press function, and Twitter’s decision to remove
 the N.Y. Post articles therefore falls within the media exemption.

          D.     Twitter’s Content Moderation Decisions Are Protected under Section
                 230, and Requiring Twitter to Host Materials on Its Platform Would
                 Violate the First Amendment.

         Section 230 of the Communications Decency Act provides a broad grant of immunity for
 “interactive computer services” such as Twitter. 78 First, Section 230 provides that no interactive
 computer service “shall be treated as the publisher or speaker of any information” provided by a



 74
   Twitter, 2019 Annual Report, Form 10-K,
 https://s22.q4cdn.com/826641620/files/doc financials/2019/FiscalYR2019 Twitter Annual
 -Report-(3).pdf.
 75
      Advisory Opinion 2008-14 (Melothé).
 76
      Advisory Opinion 2019-05 (System73).
 77
      Advisory Opinion 2008-14 (Melothé) at 5-6.
 78
   Twitter is unquestionably an interactive computer service, as it “provides . . . computer access
 by multiple users to a computer server.” 47 U.S.C. § 230(f)(2); see also Klayman v. Zuckerberg,
 753 F.3d 1354, 1358 (D.C. Cir. 2014).
                                             MUR782700048
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 third party. 79 Second, Section 230 provides that no “interactive computer service shall be held
 liable” on the basis of any action restricting access to material provided by a third party. 80 In
 short, Section 230 bars legal action “seeking to hold a service provider liable for its exercise of a
 publisher’s traditional editorial functions—such as deciding whether to publish, withdraw,
 postpone or alter content” created by third parties. 81 Because “any activity that can be boiled
 down to deciding whether to exclude material that third parties seek to post online is perforce
 immune under section 230,” 82 decisions by Twitter to exclude the N.Y. Post articles from its
 platform are absolutely immune from civil liability, including federal civil enforcement.

         Additionally, the First Amendment right to free speech extends to a right against
 compelled speech. 83 Just as a newspaper cannot be compelled to host editorials by political
 candidates, 84 the First Amendment protects the right of social networks to decide what content
 to host. 85 Finding reason to believe that Twitter violated the Act by moderating the N.Y. Post
 articles would essentially require Twitter to host that content. Such a mandate would violate the
 First Amendment.




 79
      47 U.S.C. § 230(c)(1).
 80
      Id. § 230(c)(2)(A).
 81
   Barrett v. Rosenthal, 40 Cal.4th 33, 43 (2006) (quoting Zeran v. Am. Online, Inc., 129 F.3d
 327, 331 (4th Cir. 1997)).
 82
   Fair Hous. Council of San Fernando Valley v. Roommates.Com, LLC, 521 F.3d 1157, 1171 (9th
 Cir. 2008).
 83
    See Wooley v. Maynard, 430 U.S. 705, 714 (1977) (“We begin with the proposition that the
 right of freedom of thought protected by the First Amendment against state action includes both
 the right to speak freely and the right to refrain from speaking at all.”).
 84
      See Miami Herald Publ’g Co. v. Tornillo, 418 U.S. 241, 258 (1974).
 85
   See, e.g., Jian Zhang v. Baidu.com Inc., 10 F. Supp. 3d 433, 437 (S.D.N.Y. 2014) (“[T]he First
 Amendment's protections apply . . . whether or not the speaker generated the underlying
 content in the first place.”).
                                          MUR782700049
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       For the reasons stated above, we respectfully request that the Commission dismiss the
 Complaint.

                                                          Respectfully submitted,



                                                          ______________________

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                               Exhibit A
                                               MUR782700051
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                                  25642




                         BEFORE THE FEDERAL ELECTION COMMISSION


                                                  )
 In re MUR 7821                                   )



                                  DECLARATION OF YOEL ROTH

                  1.       My name is Y oel Roth. This declaration is made upon my personal

 knowledge and belief.

                  2.       I am Head of Site Integrity at Twitter, which is part of Twitter' s Trust &

  Safety department. In this role, I lead the company's Site Integrity Team, which assesses content

 posted on Twitter to determine whether it violates the company's policies.

                  3.       Visitors to the Twitter website and users of the mobile application can

 report content that may violate the company's policies. Twitter also uses machine-learning

 programs to identify content that may violate Twitter policies.

                  4.       The Site Integrity Team also receives and reviews reports, including from

  security consultants, regarding hacking incidents.

                  5.       The Site Integrity Team assesses content flagged for review under

  Twitter' s policies.

                  6.       Twitter regularly enforces its policies, including the Distribution of

 Hacked Materials Policy and Private Information Policy. The TwitterService team assists with

  implementation of such enforcement actions.
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                 7.      As a matter of practice, neither I nor the other members of the Site

 Integrity Team communicate directly with persons outside Twitter that report content for

 violating Twitter' s policies.

                 8.      For routine content moderation decisions, the Site Integrity Team makes

  enforcement decisions. For high-profile matters and content that presents more complex

  considerations, the Site Integrity Team performs an initial assessment and escalates the matter

  internally for a final enforcement decision.

                 9.      When evaluating potentially hacked material to determine if there is a

 violation ofTwitter's Distribution of Hacked Materials Policy, the Site Integrity Team considers

 public declarations of hacking as determinative. If no such claim is made, the Site Integrity

  Team considers other indicia of hacking to assess whether the material was obtained through

 hacking based on the team's experience and expertise.

                 10.     Since 2018, I have had regular meetings with the Office of the Director of

 National Intelligence, the Department of Homeland Security, the FBI, and industry peers

 regarding election security.

                 11.     During these weekly meetings, the federal law enforcement agencies

  communicated that they expected "hack-and-leak operations" by state actors might occur in the

 period shortly before the 2020 presidential election, likely in October. I was told in these

 meetings that the intelligence community expected that individuals associated with political

  campaigns would be subject to hacking attacks and that material obtained through those hacking

  attacks would likely be disseminated over social media platforms, including Twitter. These

  expectations of hack-and-leak operations were discussed throughout 2020. I also learned in




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 these meetings that there were rumors that a hack-and-leak operation would involve Hunter

 Biden.

                 12.    On October 14, 2020, I learned from media coverage that the New York

 Post had posted articles to its website that morning containing emails and other personal

 materials purportedly found on a hard drive that allegedly belonged to Hunter Biden.

                 13.    The Site Integrity Team preliminarily determined that the information in

 the articles could have been obtained through hacking, based on, among other things, the type of

 material, the sourcing described in the articles, and the information security community's initial

 reactions.

                 14.    The materials in the New York Post articles also contained personal email

  addresses and telephone numbers, and so sharing them on Twitter violated the Private

 Information Policy.

                 15.    Given the high-profile nature of the material and publisher, the Site

 Integrity Team escalated the New York Post articles for further review.

                 16.    Twitter's Trust & Safety leadership determined that the New York Post

  articles violated the Distribution of Hacked Materials Policy and the Private Information Policy

  and instructed the Site Integrity Team to execute enforcement of those policies.

                 17.    At approximately 10:20 a.m. Pacific time on October 14, 2020, the Site

 Integrity Team implemented the enforcement action. Per the procedures and sanctions set out in

 the policies, the Site Integrity Team blocked Twitter users from sharing links over Twitter to the

  applicable New York Post articles and prevented users who had previously sent Tweets sharing

 those articles from sending new Tweets until they deleted the Tweets violating Twitter's policies.




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                                 18.              I did not receive any communications from or have any communications

      with representatives of Biden for President, the Democratic National Committee, or any of their

      agents regarding the New York Post articles before Twitter implemented the enforcement actions

      on October 14, 2020.

                                 19.              To the best of my knowledge, no Twitter employee received any

      communications from or had any communications with representatives of Biden for President,

      the Democratic National Committee, or any of their agents regarding the New York Post articles

      before Twitter implemented the enforcement actions on October 14, 2020.



                                                                        ***


                                                                              Yoel Roth (De<: 17, 2020 16:J.S PST)

                                                                               Yoel Roth


                                                                               Date: Dec 17, 2020


Signature:   fbd :fpth
             Yoel Roth (Dec 17, 2020 16:15 PST)

    Email: yoel@twitter.com
    Title: Head of Site Integrity
Company: Twitter Inc.




                                                                          4
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                               Exhibit B
                                              MUR782700056
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                      BEFORE THE FEDERAL ELECTION COMMISSION


                                                )
 In re MUR 7821                                 )



                         DECLARATION OF LAUREN CULBERTSON

                 1.      My name is Lauren Culbertson. This declaration is made upon my

 personal knowledge and belief.

                 2.      I am employed by Twitter, Inc. as Head of U.S. Public Policy. In that

 role, I lead Twitter' s Public Policy team devoted to state and federal policy work.

                 3.      Twitter's Public Policy team serves as the primary point of contact at

  Twitter for officeholders, election officials, candidates, campaigns, and party committees. At

  least one member of Twitter' s legal team also worked with officeholders, election officials,

  candidates, campaigns, and party committees during the 2018 U.S. midterm election and the

  2020 presidential campaign.

                 4.      The Public Policy team provides user support to governmental Twitter

 users, including executive branch agencies and officials, members of Congress, the President,

  and others in the administration. The Public Policy team maintains a general email account

  (gov@twitter.com) for government contacts to direct questions and concerns and to report

  content that they believe violates Twitter policies.

                 5.      As the primary points of contact for officeholders, election officials,

  candidates, campaigns, and party committees, the Public Policy team receives requests from

 those persons for Tweets to be reviewed for compliance with Twitter' s policies. The Public
                                                                   MUR782700057
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      Policy team forwards these requests to review content to enforcement agents, including members

      of the TwitterService and the Trust & Safety teams.

                                 6.            I am aware that the New York Post published a series of articles on

      October 14, 2020, containing images and emails purportedly sent and received by Hunter Biden

      (the "Articles").

                                 7.            I am also aware that on October 14, 2020, Twitter's Trust & Safety

      leadership determined the Articles violated Twitter policies and enforced those policies against

      the Articles, removing associated content from the platform.

                                 8.            I did not receive any communications from or have any communications

      with representatives of Biden for President, the Democratic National Committee, or any of their

      agents regarding the Articles before Twitter implemented the enforcement actions on October

      14, 2020.

                                 9.            To the best of my knowledge, no Twitter employee received any

      communications from or had any communications with representatives ofBiden for President,

      the Democratic National Committee, or any of their agents regarding the Articles before Twitter

      implemented the enforcement actions on October 14, 2020.




                                                                       ***

                                                                             La11re11 YCtdbettrp11
                                                                             Lauren M Culbertson (Dec 17, 202018:43 EST)

                                                                              Lauren Culbertson


                                                                              Date: Dec 17, 2020


Signature:   /.tJfrte/1 ;f{Clt/b@0/1
             Lauren M Cul bertson (Dec 17, 2020 18:43 EST)

    Email: lculbertson@twitter.com
                                                                        2
    Title: Head of U.S. Public Policy
Company: Twitter
